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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                                     10/20/2020
 Allianz Global Investors GmbH et al.,
                                                               1:18-cv-10364 (LGS) (SDA)
                                Plaintiffs,
                                                               ORDER
                    -against-

 Bank of America Corporation et al.,

                                Defendants.


STEWART D. AARON, UNITED STATES MAGISTRATE JUDGE:

       The Court has reviewed the parties’ submissions and, applying proportionality principles,

in its discretion, ORDERS as follows:

       1. Plaintiffs’ Letter Motion (ECF Nos. 565 & 567) to compel with respect to HSBC is

           GRANTED IN PART and DENIED IN PART. HSBC shall collect materials from a total of

           40 custodians. Plaintiffs shall select these custodians from among the 24 that UBS

           itself offered and the individuals identified by Plaintiffs in ECF No. 620.

       2. Plaintiffs’ Letter Motion (ECF Nos. 568 & 570) to compel with respect to Morgan

           Stanley is GRANTED IN PART and DENIED IN PART. Morgan Stanley shall collect

           materials from a total of 30 custodians. Plaintiffs shall select these custodians from

           among the 23 that Morgan Stanley itself offered and the individuals identified by

           Plaintiffs in ECF No. 570.

       The Court finds that a proper showing has been made for the motions to seal relating to

each of the foregoing Letter Motions (ECF Nos. 566, 569, 598, 601, 616, 619) and those motions

are hereby GRANTED.

SO ORDERED.
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Dated:     New York, New York
           October 20, 2020

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                                         STEWART D. AARON
                                         United States Magistrate Judge




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